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                  Exhibit 1
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                         FOREIGN CLAIMS SETTLEMENT COMMISSION
                                  OF THE UNITED STATES
                                   WASHINGTON, D.C. 2057~




      IN THE MATTER OF THE ~LAIM OF




       NORTH AMERICAN SUGAR INDUSTRIES INC.                 Claim No.CU -2 622
       CUBAN-AMERICAN MERCANTILE CORPORATION
       WEST INDIA COMPANY
                                                            Decision No.CU



      Under the In~rna~onal C~ims Se~lement
               Act of 1949. as amended

     Counsel for claimants:                                 Covington and Burling
                                                            by John Go Laylin, Esqo




                                      PROPOSED DECISION

           This claim against the Government of Cuba, under Title V of the Inter-

     national Claims Settlement Act of 1949, as amended, for $114,003.157.00 is

     asserted by NORTH AMERICAN SUGAR INDUSTRIES INC. based upon alleged losses

     resulting from certain nationalizations in Cuba. The CUBAN-AMERICAN MERCAN-

     TILE CORPORATION and the WEST INDIA COMPANY which are wholly-owned subsiHi-

     aries of NORTH AMERICAN, organized in the United States, are joined herein

     as co-claimants.

           Under Title V of the International Claims Settlement Act of 1949

     [78 Star. iii0 (1964), 22 U.SoC. §§1643-1643k (1964), as amended, 79 Stat.

     988 (1965)], the Commission is given jurisdiction over claims of nationals

     of the United States against the Government of Cuba. Section 503(a) of the

     Act provides that the Commission shall receive and determine in accordance

     with applicable substantive law, including international law, the amount and

     validity of claims by nationals of the United States against the Government

     of Cuba arising since January I, 1959 for:

                losses resulting from the nationalization, expropri-
                ation, intervention or other taking of, or special
                measures directed against, property including any
                rights or interests therein owned wholly or partially,
                directly or indirectly at the time by nationals of the
                United States.
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          Section 502(3) of the Act provides:

                 The term ’property’ means any property, right, or
                 interest including any leasehold interest, and
                 debts owed by the Government of Cuba or by enter-
                 prises which have been nationalized, expropriated,
                 intervened, or taken by the Government of Cuba and
                 debts which are a charge on property which has been
                 nationalized, expropriated, intervened, or taken by
                 the Government of Cuba.

         Section 502(I)(B) of the Act defines the term "national of the United

    States" as a corporation or other legal entity which is organized under the

    laws of the United States, or of any State, the District of Columbia, or the

    Commonwealth of Puerto Rico~ if natura! persons who are citizens of the

    United States own, directly or indirectly, 50 per centum or more of the

    outstanding capital stock or other beneficial interest of such corporation

    or entity.

         The claim asserts losses sustained by NORTH AMERICAN SUGAR INDUSTRIES

    INC., a United States holding company. This is a company originally organ-

    ized as Cuban-American Sugar Company in 1906 in New Jersey. It had two

    wholly-owned American subsidiaries, viz: CUBAN-AMERICAN MERCANTILE CORPOR-

    ATION and the WEST INDIA COMPANY (both organized in New Jersey). WEST INDIA

    COMPANY in turn had four wholly-owned Cuban subsidiaries, viz: CIA. AGRICOLA

    SAN SEBASTIAN; CIA. AGRICOLA Y GANADERA CUBANA; ALMACENES MARINA, S.A.; and

    ALMACENES MERCEDITA, S.Ao NORTH AMERICAN also had five wholly-owned sub-

    sidiary corporations organized in Cuba, viz: THE CUBAN~AMERICAN SUGAR MILLS

    COMPANY; CIA. DEL FERROCARRIL DE PUERTO PADRE; C!A. ELECTRICA DEL NORTE DE

    ORIENTE; PRODUCTORA ELECTRICA~ S.A.; and COMPANIA DE SEGUROS DE INGENIOS, S.A.

    In addition it owned a 50% interest in the Cuban organized corporation called

    ORIENTE PRODUCTS CO.

         An officer of NORTH ~ERICAN SUGAR INDUSTRIES INC. has certified that

    more than 50% of its outstanding capital stock has been owned by United States

    nationals at all times pertinent hereto, and that in 1961 residents of the

    United States, who are ?re~u~ed to ~.e United ~tate~ nationals, owned 99.327%

    of the outstanding capita~ ~oOC~
                               ~~ ~ of that company, l~e Co~mission holds that


O   t he three claimants are nationals of the United States within the meaning of

    Section 502(I)(B) of the Act.

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       The Commission finds that all of the subsidiaries heretofore mentioned

  were intervened by the Government of Cuba on July 20, 1960 under Resolution

  No. 195. The parent company was thereafter listed as nationalized in Reso-

  lution i (pursuant to Law 851) published in the Cuban Official Gazette on

 August 6, 1960.

       The Act provides in Section 503(a) that in making determinations with

  respect to the validity and amount of claims and values of properties,

 rights, or interests taken, the Commission shall take into account the basis

 of valuation most appropriate to the property and equitable to the claimant,

 fncluding but not limited to fair market value, book value, going concern

 value, or cost of replacement°

      The question, in all cases, is to determine the basis of valuation

 which, under the particular circumstances, is "most appropriate to the prop=

 erty and equitable to the claimant". The Commission has concluded that this

 phraseology does not differ from the international legal standard that would

 normally prevail in the evaluation of nationalized property and that it is

 designed to strengthen that standard by giving specific bases of valuation

 that the Commission shall consider; i.eo, fair market value, book value,

 going concern value, or cost of replacement°

      In support of the values claimed for the losses sustained, claimants

 have submitted an appraisal of the physical properties of the subsidiaries

 based upon 1959 replacement costs less depreciation to the time of loss.

 It appears that the appraiser had inspected the various properties on many

 occasions and had determined the value of the cane lands in Pinar del Rio

 as recently as 1960. Photographs of the sugar mills and their equipment;

 aerial photos; descriptive lists of risks covered by insurance policies;

 engineering surveys; maps; statements of non-capital assets; and a report

 to the Department of State in 1961 asserting the values of the confiscated

 properties, all appear in the record before uso Based upon all the evidence

 of record the Commission finds that the values most appropriate to the prop°

 erty and equitable to the claimants are as follows:


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                     i. CUBAN-AMERICAN MERCANTILE CORPORATION

         This corporation was a New Jersey corporation whose function was the pur-

    chase of supplies for the Cuban-American Sugar Mills Company and the sale of

    that company’s products. The company had no capital assets on July 20, 1960

   but has shown that its non=capital assets on that date consisted of the

    following:

                 Cash in banks                                  $12,226.22
                 Cash on hand                                     2,000.00
                 Accounts Receivable
                   For molasses                 $ 7,778.08
                   For goods & services         25,477°28
                   From cane farmers             1 644°75        34,900.11
                 Investments                                       3,200.00
                 Deferred charges                                     62.13

                           Total Non=capital Assets             $52,388°46

        It is noted that the investments of this company consisted of one share

   of Series A Havana Biltmore Yacht and Country Club stock listed at $3,200.00°

   The Commission has heretofore determined the value of one share of Series A

   stock of the Havana Biltmore Yacht and Country Club to be $3,500.00, and that

   the Club had been intervened by the Government of Cuba on March 19, 1960.

   (See Claim of Arman Eo Becker~ Jr°, Claim No. CU-I094o) The Commission con=
O cludes that the amount of loss sustained by the CUBAN=AMERICAN MERCANTILE

   CORPORATION under this section amounted to $52,688°46 (including an additional

   $300.00 includible value on the Country Club stock).

                            2. WEST INDIA COMPANY

        This company was incorporated in the State of New Jersey and was the

   owner of four Cuban corporations in July, 1960. The losses sustained through

   its wholly-owned Cuban subsidiaries are:

                        A. CIA. AGRICOLA SAN SEBASTIAN

        This company owned 280.068 caballerias of land or 9,288 acres (at 33.162

   acres per cab) used for the cultivation of sugar cane. This land had a high

   value based upon its cane yield° in addition to the land the company owned

   agricultural equipment and field buildings valued as follows:



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        Buildings and Equipment

              89 field buildings, including
              6 windmills, wells, and tanks                     $ 30,000.00

              9 tractors, 85 carts and wagons
              190 plows, 35 cultivators                          125,000o00

              Miscellaneous implements,
              furniture and fixtures                               5~000o00         $ 160,000.00
    O Lands


              130.82 cabs of cane lands
                 67.73 harvested                                $475,000.00
                 63.09 not harvested                             265,000.00
                 4,500,000 harvested cane stools                 450,000.00
                 3,800,000 not harvested cane                   190,000.00         $1,380,000o00

              18.142 cabs other crops                                                   30,000.00
              38.182 cabs, pasture                                                    240,000.00
              15.510 cabs, bateys and roads                                             25,000.00
              59.367 cabs, forests                                                     326,000.00
              26.043 cabs, reserve land                                                91~000.00
                                              Total Buildings & Lands              $2,252,000.00

        Non-Capital Assets and Liabilities:

        Assets
           Cash in Banks                                    $        36.27
           Accounts Receivable                                    2,157o10
           Inventories                                            5,394.53
           Work Animals                                          11,700.00
           Shares of Ferrocarriles
               Occidentales de Cuba                            5,060.08
           Prepaid Taxes                                         514o72
           Unexpired Insurance                                 5,058.37
           Cultivation Expenses                              32~942.75         $       62,863.82

       Liabilities
          Accounts Payable                                   $25,169~79
          Accrued liabilities                                    135.24               25~305.03

       Non-Capital Assets less Liabilities                                          $ 37~558.79

       Total Loss - Cia. Agricola San Sebastian                                $2,289,558.79

       It should be noted that Cia. Agricola San Sebastian and other subsidiaries

       valued their investment in the Ferrocarriles Occidentales de Cuba, S.A. at 50%

       of their original cost. Ferrocarriles Occidentales de Cuba, S.A. stock was

       owned by the Cuban Government and private investors with the provision that

       certain taxes would be forgiven its stockholders. In another case the value

       of those shares was heretofore determined by the Commission to be the original

       cost. (See Claim of Ruth Anna Haskew, Claim NOo CU-0849.) The Haskew value

O      is the one used herein for the loss of such shares by Cia° Agricola San

       Sebastian and the other companies having such an investment.

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                          Bo   CIA. AGRICOLA Y GANADERA CUBANA

         Compania Agricola y Granadera Cubana owned 1,197.56 caballerias which

  was cultivated mostly in sugar cane and pasture grasses. Its properties also

  included field buildings, agricultural equipment, water tanks, windmills,

  fences and cattle. The land had a good yield of sugar cane but not as high

  as the land belonging to Ciao Agricola San Sebastian. Its losses are valued

  as follows:

 Buildings and Equipment

     120 field buildings                                $ 120,000.00
    Scale hoists, 24 windmills
       12 water tanks, fences,
       Miscellaneous equipment                            i00,000o00
    Furniture & Fixtures                                     7,500.00
    Carts & Wagons                                        130,000.00
    Agricultural Implements                                50,000.00
    Trucks & Tractors (30)                 ~                250~000.00     $ 657,500.00

 Lands

     1,197.56 cabs                                $5,917,500.00
     12,000,000 arrobas, cane stubble
      3,390,000 arrobas, standing cane          .i~370~000.00            $7~287~500.00
                       Total Buildings, Machinery & Lands                $7,945,000.00

 Non-Capital Assets and Liabilities:

 Assets
    Cash in banks                                   $       2,200.91
    Cash on hand                                            6,268.68
    Accounts Receivable                                    1,708.33
    Materials & Supplies                                    3,065.63
    Inventory, planted & growing cane                     57,071.90
    Livestock                                             695,975.50
    Breeding mares                                          8,654.52
    Work animals                                              130.55
    Shares of Ferrocarriles
      Occidentales de Cuba                                223,900.00
    Subscription of Ferrocarriles
      Occidentales shares                                 10,926.04
    Banco de los Colonos bonds                               904.00
    Unexpired insurance                                      677.28
    Cultivation expenses                                   561233.42     $1,067,716.76

 Liabilities
    Accounts Payable                                    $ 46,530.83
    Accrued liabilities                                      977.83          47~508.66

Non=Capital Assets less Liabilities                                      $i~020~208oi0

Total Loss = C±a. Agricola y Ganadera Cubana                             $8,965,205.10



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                         C. ALMACENES MARINA~ S.A.

       Almacenes Marina, S.A. was the owner of two warehouse buildings in

  Cardenas, Province of Matanzas, Cuba which were used for the storage of raw

  and refined sugars for the Cardenas Sugar Refinery. The value of the ware-

  houses, equipment and land is:

    Warehouse No. 6, 1,990 square meters
       and Warehouses 6-A and 6-B (one
       building) 2,600 square meters, both
       of structural steel                                            $ 125,000.00
    1,000 wooden platforms                                                5,000.00
    Land                                                                 50~000.00
                                Total Capital Assets                 $ 180,000.00

 Non-Capital Assets and Liabilities:

 Assets
    Cash in bank                                  $       84°44

 Liabilities ......... None

 Non-Capital Assets less Liabilities                                        84.44

 Total Loss - Almacenes Marina, S.A.                                $ 180,084.44


                        D. ALMACENES MERCEDITA, S.A.

      This company owned three warehouses and marine equipment at Mercedita,

 Province of Pinar del Rio. All of the raw sugar which was not shipped di-

 rectly from production in Central Mercedita was stored in the warehouses.

 The value of its properties on July 20, 1960 was:

    Marine Equipment, consisting of a
      37-foot tug, wooden hull, 53 horse-
      power diesel engine                                           $    14,000.00

    Warehouse No. 61, 990 square meters
      concrete block, steel roof frame,
      galvanized sheeting; Warehouse No. 68,
      800 square meters brick walls, wooden
      roof frame, concrete flooring and
      adjoining shed; Warehouse No. 85,
      1,000 square meters stucco walls,
      tile roof                                                         90,000.00

    Land, 3,160.71 square meters                                        i0~000.00
                              ~    Total Capital Assets             $ 114,000.00-




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     Non-Capital Assets and Liabilities:

     Assets
        Cash in banks                               $      110.62
        Accounts Receivable                                436.79           $        547.41

     Liabilities
        Accrued Liabilities                                436.79                     436.79

    Non-Capital Assets less Liabilities                                     $        110.62
O   Total Loss - Almacenes Merce~ita~ .S.A.                                     $ 114,110.62


             The total loss suffered by the WEST INDIA COMPANY as a result of the

    nationalization of the above four Cuban subsidiaries is $11,548,958o95.

                      3. THE CUBAN-AMERICAN SUGAR MILLS COMPANY

             The Cuban-American Sugar Mills Company was a wholly-owned Cuban subsidiD

    ary of NORTH AMERICAN SUGAR INDUSTRIES INC., the principal operating company

    which owned three raw sugar mills in Cuba known as Central Mercedita, Central

    Chaparra, and Central Delicias and approximately 429,000 acres of land in the

    Provinces of Oriente and Pinar del Rio. This subsidiary also owned a sugar

    refinery at Cardenas, Cuba.

                                A. Central Mercedita

         This property was located in Pinar del Rio and included a sugar mill

         a capacity of 2,000 tons of cane every 24 hours, 439.90 caballerias of

    land (14,588 acres), its own railroad to bring cane to the mill and the raw

    sugar to the wharf, which it also owned, at Cabanas Bay. The quality of the

    cane lands was excellent as evidenced by their high yield. The land was used

    for varying purposes; 277.17 cabs for cane lands, 80.13 for pasture, 26.12 for

    other crops, 21.62 for bateys (living areas) and roads, and 34.86 for reserve

    lands.

         The buildings at Central Mercedita included the mill building and boiler

    house of 6,500 square meters, mill supply building, carpenter and cart shop,

    cart storage building, gas and alcohol storage building, slaughter house,

agricultural equipment storage, school, church, office, store, 6 frame bar-

racks, 6 large frame barracks, i brick, 16 brick dwellings, 66 frame dwell-

    ings. It was equipped with the necessary electric, water, railroad facilities

O   in addition to the rolling stock, wharf, telephone system, laboratory equip-

ment, field and agricultural equipment and factory machinery.

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       The values determined for the capital assets are:

  Land and Crops                                                            ~
     146 cabs, harvested cane land             $I,000,000.00
     131 cabs, not harvested                      540,000.00
     9,671,939 arrobas harvested cane             977,000.00
     8,500,000 arrobas unharvested cane           425,000.00
     80.13 cabs of pasture                        500,000.00
     26.12 cabs with crops                         80,000.00
     21.62 cabs of bateys, roads                   31,000.00
     34.86 cabs, reserve lands                    120~000.00
                 Total Value of Land and Crops                       $3,673,000.00

  Buildings~ Installations and Equipment
     Batey and factory buildings
       and installations                      $     700,000.00
     Agricultural department, furniture
       and fixtures, water stations,
       telephone system, laboratory,                                                  °
       and wharf                                    185,000.00
     Railroad track, bridges and
       rolling stock                              1,260,000.00
     Cane weighing and unloading
       equipment                                    40.000.00
     Cane grinding equipment                       500.000.00
     Furnace and boiler equipment                  375.000.00
     Factory piping system                          70 000.00
     Clarification Plant                           ii0 000.00
     Evaporating Plant                             310 000.00
     Crystallizers and centrifugals                200 000.00
     Electric plant and power lines’                80 000.00
     Factory Pumps                                  35 000.00
     Machine and Carpenter Shops                    75~000.00
                 Total Buildings, Instal-
                    lations, etc.                                    $3,940,000.00

  Non-Capital Assets and Liabilities:

  Assets
     Cash in banks                            $     81,915.29
     Cash on hand                                    8,280.07
     Accounts Receivable
       Deposits                                        503.10
       Cane Farmers                                     84.25
       General Debtors                               7,818.80
     Inventories
       Materials and Supplies                      102,523.95
       Small tools                                   7,706.30
     Work Animals                                    2,303.00
     Unexpired Insurance                               264.77        $ 211,399.53

  Liabilities
     Accounts Payable
       To Cane Farmers                        $    341,374.66
       General Creditors                           179,264.48
     Accrued Liabilities
       Payroll                                       2,379.34
       Vacation compensation                         1,564.07
       Other                                           792.69           525~375.24

 Non-Capital Assets less Liabilities                                 ($313,975.71)

 Total Loss - Central Mercedita "                                    $7,299,024.29

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                        B. Centrals Chaparra and Delicias

          The sugar estate comprising Centrals Chaparra and Delicias and about

     300,000 acres of land was the largest of its type in the world. The area

    was approximately 42 by 30 miles having within its boundaries the sugar

     factories, towns, railroad lines, high voltage power lines, main roads, a

O    large protected port, cane lands, orchards, pastures and forests. The total

    population of this area in 1959 was estimated to be near 75,000. The land

    comprising 9,021.93 caballerias was allocated to cane lands ~ 3,936.63 cabs,

    other crops = 580.27 cabs, pasture - 1,477.97 cabs, natural resources =

    454.91 cabs, industrial area = 113.01 cabs, bateys and towns = 233°99 cabs,

    city property = 35.72 cabs, reserve land = 1,772.47 cabs, and additional land

    in shore area ~ 416.96 cabs.

         Central Chaparra mill had a capacity of 9,100 tons per day and the build=

    ings and installations for this Central included the following: Factory

    buildings, consisting of a boiler house, mill supply house, mill house, boiling

    house, scale house, bag storage, and sugar storage; batey buildings and instal=

    lations consisting of one kilometer of canal, a concrete dam, cooling ponds,

    water pumping station at dam, molasses tank with a capacity of 445,000 gallons

Oand one of 270,000 gallon capacity, carpenter shop, brick school, brick bar=

    racks, hospital unit of several buildings, restaurant and hotel, drug store

    and meat market, bakery, garage, railroad station, apartment building, 62 brick

    dwellings, 250 frame dwellings, 3 large frame barracks, 7 brick barracks and

    various other buildings necessary for a living complex, plus sewerage and water

    supply, telephone facilities, 143.118 kilometers of railroad lines and railroad

    equipment of 20 locomotives and 2,311 cars°

         Central Delicias mill was one of the largest in Cuba and had a daily

    capacity of 11,200 tons of cane. Its buildings and installations included the

    following: Warehouse of 5,640 square meters, scale house, car repair shop,

    locomotive shop, foundry, machine shop, mill and boiler houses, electric

  plant, ice plant, diesel fueling station, 500,000 gallon fuel oil tank, salt

  water reservoir, heptane tanks, telephone system, 5 frame barracks, 3 brick
O barracks, school, police headquarters, 3 H=type barracks, 175 frame dwellings,

  50 brick dwellings, railroad lines, 315.539 kilometers of railroad track and

  distillery.
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       The values determined for the capital assets are:

  Land and crops of Centrals Chaparra and Delicias
     2,850 cabs~ harvested cane land         . $15,200,000.00
     1,087 cabs, not harvested                    3,480,000.00
     985,255 arrobas harvested cane                  98,523,00
     500,000 arrobas unharvested cane                25,000.00
     580.27 cabs, other crops                     1,740,000.00
     1,477.97 cabs, pasture lands                9,200,000,00
     454.91 cabs, natural resources              2,500,000.00
     347.00 cabs, industrial bateys                 694,000.00
     35.72 cabs, city lands                         192,000.00
     416.96 cabs, shore property                    416,000o00
     1,772.47 cabs, reserve lands                 6~200~000.00
           Total Value of Land and Crops of
             Centrals Chaparra and Delicias                           $39,645,523.00

  Buildings~ Installations and. Equipment - Chaparra
     Batey and factory buildings
        and installations                       $ 3,200,000.00
     Cane weighing and unloading
        equipment                                    180,000o00
     Cane grinding equipment                      2,200,000.00
     Furnace and boiler equipment                 1,250,000o00
     ¢larification Plant                            350,000°00
     Evaporation Plant                              600,000.00
     Crystallizers, centrifugals                    600,000.00
     Electric Plant, power lines                    950,000.00
     Factory pipe lines, valves                     250,000.00
     Telephone System                                 75,000.00
     Ice plant, lime kiln,
       construction machinery                        75,000.00
     Carpenter shop, machinery, loco-
       motive and blacksmith                        150,000.00
     Transportation equipment                     7,200,000.00
     Other properties                               450,000.00
     Factory pumps                                    75,000.00
     Electric motors                                  50,000.00
    Laboratory                                        i0~000.00
                 Total Chaparra Buildings,
                   Equipment & Installations                          $17,665,000.00

 Buildings~ Installations and Equipment - Delicias
    Batey and factory buildings
       and installations                      $ 2,750,000°00
    Cane weighing and unloading
       equipment                                    220,000.00
    Milling equipment                           1,900,000.00
    Furnace & boiler equipment                  i,i00,000°00
    Factory pipe lines & valves                   300,000°00
    Clarification Plant                           575,000.00
    Evaporating Plant                              800,000°00
    Crystallizers, centrifugals                   700,000.00
    Electric plant & power lines                1,000,000o00
    Factory pumps                                  i00,000o00
    Electric motors                                 75,000.00
    Laboratory                                      I0,000.00
    Furniture, fixtures, tools                    150,000o00
    Construction machinery, foundry,
      ice plant, machinery & blacksmith
      shop, stone crusher                         300,000.00
    Locomotive repair shop, railroad
      buildings & sand drier                      250,000.00


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         Watering stations                        $       15,000.00
         Car repair shop                                  50,000°00
         Scale and scale houses                           75,000.00
         Water pumping stations and wells               400,000.00
         Building at San Manuel (railroad)               50,000.00
         Railroad Track                                4,000,000.00
         Tractors and trucks                             150,000.00
         Distillery                                      780~000.00
               Total Buildings, Installations
                 and Equipment                                           $15,750,000.00

  Non-Capital Assets and Liabilities of Chaparra and Delicias:

  Assets
     Cash in banks                                    $ (186,747o77)
     Cash on hand                                          28,528°38
     Accounts Receivable
       For goods & services                               34,310o96
       From cane farmers                                  22,812o95
       From general debtors                               56,844°33
     Inventories
       Materials & supplies                            1,513,240o19
       Small tools                                        71,626o75
       Planted & growing cane                              7,133.15
     Livestock                                             4,724°00
     Deferred Charges
       Prepaid Taxes                                      15,985o47
       Unexpired Insurance                                 3~381.64
               Total Non-Capital Assets                                $ 1,571,840.05

  Liabilities
     Accounts Payable
       Cane farmers                               $ 1,851,490o88
       General creditors                               501,866.98
     Accrued Liabilities
       Payroll                     37,031.25
       Vacation compensation                              38,625°58
       Taxes other than Income                            471895o18
               Total Liabilities                                       $ 2,476,909.87

 Non=Capital Assets less Liabilities                                   $ (905~069.82)

 Total Loss = Centrals Chaparra and Delicias                           $72,155,453.18


                                   C. Cardenas Refinery

          The Cardenas Refinery of the Cuban=American Sugar Mills Company was io=

 cated in the north coast port of Cardenas in the Province of Matanzaso It had

 a capacity of 6,000 lO0=pound units of refined sugar per day. Its physical

 assets include 14,000 square meters of waterfront property, wharves, railroad

 sidings, buildings and refinery equipment° The values for the capital assets

 are :



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    Land                                            $     180,000.00
    Wharves                                               25,000.00
    Railroad Sidings                                      20,000.00
    Refinery building, garage,
      railroad equipment, tanks,
       furniture & fixtures,
      lighting system, water supply                      240,000°00
    Machinery & Equipment
      Char & filter houses,
      clarifiers, boiler house
      transformers, fire fighting
      equipment, water softening
      plant, machine shop                                400~000o00
             Total Value Capital Assets                                $   865,000.00

 NonoCapital Assets and Liabilities:

 Assets
    Cash on hand                                $          2,500°00
    Accounts Receivable                                      153o00
    Inventory, raw sugar                                   8,979°78
    Prepaid Taxes                                             11.89
    Unexpired Insurance                                     440°79                   ~
             Total Assets                                              $    12,085.46

 Liabilities
   Vacation compensation                    $               300.95
   Taxes other than Income                                  592°05
             Total Liabilities                                                 893.00

 Non-Capital Assets less Liabilities                                   $    II~192o46

 Total Loss - Cardenas Refinery                                        $   876,192o46


                 D. Commercial Department and Havana Office

      These departments of the Cuban-American Sugar Mills Company were not en=

 gaged in the production of sugar and had no capital assets.

 Non-Capital Assets and Liabilities:

 Assets
    Cash in banks                                   $ 303,535.69
    Cash on hand                                        17,235.71
    Accounts Receivable
      From Cuban Government for molasses                792,188o16
                              for goods &
                                 services                 3,877°28
                              Deposits                   149,416o89
      From cane farmers                                    1,680o27
      From general debtors                               10,428o59
    Inventories
      Raw sugar                                     9,127,974o00
      Merchandise for sale                             88,282°37
    Prepaid Taxes                                         237o18
    Unexpired Insurance                                56~840o06
             Total Non=Capital Assets                                  $10,551,696.20




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    Liabilities
       Notes Payable to Banks                       $3,500,000.00
       Accounts Payable
         To cane farmers                                13,896.16
         To general creditors                          239,011.54
         To depositors                                 126~587.34
               Total Liabilities                                      $ 3~879~495.04

O   N onoCapital Assets less Liabilities                             $ 6~672~201.16

    Total Loss - Commercial Department and Havana Office             $ 6,672,201.16


                         4. CIA. DEL FERROCARRIL DE PUERTO PADRE

         The Compania del Ferrocarril de Puerto Padre was a Cuban railroad com=

    pany having 484.9 kilometers of track with the necessary rolling stock and

    operated a passenger and freight service in the area of Puerto Padre, Cha-

    parra, Delicias, Velazco and Sabanaso, Cuba, in addition to hauling sugar

    cane over its lines. The company also owned and operated the shipping port

    at Cayo Juan Claro with warehouses, docks, tanks and other facilities for

    transporting, storing and shipping raw sugar and molasses. The company had

    56.8575 caballerias of land, railroad tracks, bridges, 6 stations, 8 passenger

    shelters, 19 barracks, 19 shelters and switch houses, 48 railroad cars, and

    32 locomotives of various sizes. At the shipping port were located fuel oil

    tanks, molasses tanks, pump houses, electric substation, 52 dwellings, 7 bar°

    racks, office buildings, warehouses, piers, and shops°

         The capital assets are valued at the following:

      Land, 56.8575 cabs                            $ 211,000o00
      Railroad track, bridges and
        culverts                                     1,855,000o00
      Railroad stations & buildings                   200,000°00
      Railroad cars                                    i00,000o00
      Locomotives                                      800,000.00
      Port of Cayo Juan Claro, Docks,
        Warehouses and other instal=
        lations                                     2,228,000°00
      Telephone system, light and
        power systems, marine
        structures, furniture and
        fixtures                                      356,000.00
              Total Capital Assets                                    $ 5,750,000.00




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   Non-Capital Assets and Liabilities:

   Assets
      Cash in banks                                      $      29,548.33
      Cash on hand                                             16,338.34
      Accounts Receivable
        From Cuban Government                                  53,629.60
        From general debtors                                   97,180.61
      Inventories
        Material & supplies                                   105,518.80
        Small tools                                             6,086°40
      Shares Ferrocarriles Occidentales                           500.00
      Deferred Charges
        Prepaid Taxes                                             57.55
        Unexpired Insurance                                        17.77
        Retirement Tax Stamps                                  i~473o74
              Total Assets                                                         $ 310,351.14

  Liabilities
     Accounts Payable                                $         3,581o87
     Accrued Liabilities
       Payroll                                                 17,148.01
       Vacation compensation                                  47,189o16
       Other                                                  39,210o80
       Provision for Profit Tax                              210~549.99
             Total Liabilities                                                      317~679.83

  Non-Capital Assets less Liabilities                                            $__ (7,328.69)

  Total Loss - Ciao del Ferrocarril de Puerto Padre                              $5,742,671.31


                         5. CIAo ELECTRICA DEL NORTE DE ORIENTE

          Compania Electrica del Norte de Oriente distributed electric power to the

  communities of Holguin, Puerto Padre and Gibara in the northern part of the

  Province of Oriente, Cuba° It owned 30,349 square meters of land in Holguin

  and 683 square meters in Gibara plus some 106 transformers, automotive equip-

  ment, meters, transmission lines and buildings°

          The value of these capital assets as of July 20, 1960 is determined to

  be:

        Land                                         $         80,000°00
        Machinery & Equipment                                380,000.00
        Automotive Equipment                                    6,000.00
        Furniture & Fixtures                                   20,000°00
        Meters                                                130,000000
        Buildings and substations                            180,000.00
        Transmission lines                                   954,000.00
                Total Value of Properties                                        $1,750,000.00




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  Non-Capital Assets and Liabilities:

  Assets
     Cash in banks                                 $     1,012o64
     Cash on hand                                       20,763.09
     Accounts Receivable
       From Cuban Government                           122,137.84
       General debtors                                 196,971o56
     Inventories
       Materials and supplies                          91,343o16
       Small tools                                       2,960°22
     Shares Ferrocarriles Occidentales                  1,700o00
     Banco de los Colonos Bonds                         1,634.27
     Deferred Charges                                      254.98
             Total Assets                                                      $ 438,777.76

  Liabilities
     Accounts Payable
       General creditors                       $       18,037o06
       Depositors                                      84~i04o61
             Total Liabilities                                                  i02~141o67

  Non-Capital Assets less Liabilities                                         $ 336~636o09

  Total Loss = Ciao Electrica del Norte de Oriente                        $2,086,636.09


                            6. PRODUCTORA ELECTRICA~ SoAo

       This company produced electric current and sold it to the Compania

  Electrica del Norte de Oriente. The company owned the generating equipment,

  some transformers and a transmission lineo The value of its capital assets

  on July 20, 1960 was:

    Machinery and equipment consisting of
      (i) generating steam plant, installed
     in 1952, with boilers, refractories
     and insulators, instruments, evapora=
     tors, condensers, pumps, heaters;
     (2) a 7,500 kilowatt turbogenerator;
     (3) a kilovolt general switchgear; and
     (4) a substation at Central Delicias
     plus cables and transformers               $1,500,000.00

    Transmission lines consisting of two
     lines running a distance of 15 miles
     with the necessary steel towers and
     transformers                                      400~000.00
            Total Value of Capital Assets                                 $1,900,000.00

 Non-Capital Assets and Liabilities:

 Assets
    Cash in bank                                $        1,473o64
    Accounts Receivable                                    36.49
    Inventory, materials & supplies                    89,948°82
    Shares, Ferrocarriles Occidentales                  1,000o00
    Deferred Charges                                      254o15
            Total Assets                                                  $      92,713.10


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     Liabilities
        Accounts Payable                                 $ 54,737.21
                Total Liabilities                                                 $ 54~737.21

     Non-Capital Assets less Liabilities                                          $ 37~975.89

     Total Loss - Productora Electrica~ S.A.                                     $1,937,975.89

                          7. COMPANIA DE SEGUROS DE INGENIOS~ SoA.

          Compania de Seguros de Ingenios, S.A. was a Cuban corporation whose busi-

     ness consisted of underwriting the compensation risks of the Cuban-American

     Sugar Mills Company and its subsidiaries in Cuba. This company had no capital

     assets and its non-capital assets and liabilities were as follows:

     Assets
        Cash in banks                                    $ 33,191.84
        Cash on hand                                          500.00
        Accounts Receivable                               100,210.49
        Deferred Charges                                        4°39
                Total Assets                                                     $ 133,906.72

    Liabilities
       Accounts Payable                              $        50.00
       Accrued Liabilities                                17~494.87
               Total Liabilities                                                 $m 17~544.87

    Non-Capital Assets less Liabilities                                          $ I16~361.85

    Total Loss ~ Cia. de Sesuros de Ingenios~ S.A.                               $ 116,361.85

                                 8. ORIENTE PRODUCTS COMPANY

          The Oriente Products Company was a Cuban corporation owned in equal

    shares by NORTH AMERICAN SUGAR INDUSTRIES INC. and S. C. Johnson & Son, Inc.

    Its business was to extract wax from the sugar cane and refine it. The ex-

    traction plants were located at Central Chaparra and Central Delicias and

    were built in 1947 and 1952, respectively. The value of the capital assets

    of the Company as of July 20, 1960 was:

       Chaparra Extraction Plant including
       a building, conveyors, heaters, tanks,
       pumps and instruments                         $320,000.00

       Delicias Extraction Plant including
       a building, railroad siding, road,
       conveyors, extraction equipment,
       warehouse and control instruments             ~30~000.00
              Total Capital Assets                                               $ 950,000.00

                               Value of 50% Interest - $475,000.00


o   NonaCapital Assets and Liabilities for the 50% interest owned by NORTH AMERI-

    CAN SUGAR INDUSTRIES INC.:


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      Assets
         Cash in bank                                  $       102.95
         Inventory, materials & supplies                     7,021.06
         Shares, Ferrocarriles Occidentales                    550.00
         Deferred Charges                                      129o06
                 Total Assets                                                  $ 7,803.07

      Liabilities
         Accounts Payable                                  $ i0~280o58
                 Total Liabilities                                              i0~280.58
O
      Non-Capital Assets less Liabilities                                    $_(2,477.51)

      Total Loss for a 50% Interest in Oriente Products Company              $472,522.49

                                            OTHER CLAIMS

                                        io Good Will

           Claim has also been asserted for the sum of $5,166,737o00 for the loss of

     good will for certain of the companies. To substantiate this, claimant NORTH

     AMERICAN SUGAR INDUSTRIES INCo has submitted, among other things, a computa-

     tion based on earnings for the years 1908=11 for the companies hereinafter

     mentioned. This was prepared by its attorney setting forth the basis for the

     amount claimed° In the Summary of Valuation of Assets filed with the claim

     form, it is stated that in 1906, NORTH AMERICAN SUGAR INDUSTRIES INC. (for=

     merly The Cuban-American Sugar Company) purchased for stock with a value of


O    511,605,000o00 the stock of the Cuban companies which then had a "book value"

     of $6,438,262.06. The difference between the value of the assets and the pur-

     chase price, amounting to $5,166,738o00, was carried on the books of the

     purchasing company as "Good Will" until 1934 when it was written off against

     "Earned Surplus". The claimant’s computation states: "The circumstances of

     the 1930’s indicated to the Board of Directors of the corporation that it was

     unwise to continue to carry ’Good Will’ at original cost in perpetuity."

          In the Commission’s view the Memorandum of Computation indicates that

     there was no separate good will value for these particular assets in 1960.

    The proper way to establish such a value would be for claimant to submit evi-

    dence of good will, if any, of the entire business as a going concern. This

    it did not do.

         The Commission therefor~ finds that there is insufficient evidence of

Orecord    upon which
                 to a finding
                        make  of value for good will in 1960. Accord-

    ingly, this portion of the claim is denied.

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                           2. Trans-Cuba Oil Company

        NORTH AMERICAN SUGAR INDUSTRIES INC. also owned a stock interest in the

   Trans-Cuba Oil Company. In the Claim of D. R. Wimberly (Claim No. CU-3417,

   which we incorporate herein by reference), we held that the properties owned

   or controlled by Trans-Cuba were nationalized or otherwise taken by the Govern-

~ent    of Cuba on November 23, 1959; that the value per share was $0.1198; and

   that this type of claim is compensable to an American national under the facts

   and conditions set forth therein.

        On the basis of evidence in the record in the instant case, the Commis-

   sion finds that claimant NORTH AMERICAN SUGAR INDUSTRIES INCo comes within the

   terms of the Wimberly decision; that it has been the owner of 120,000 shares

   of stock in the Trans-Cuba Oil Company since prior to November 23, 1959; and

   that it suffered a loss in the amount of $14,376o00 through the nationaliza-

   tion of that company°


                           3° Perfect Fit Corporation

        The record establishes that the Cuban-American Sugar Mills Company had

   an investment (as a stockholder) in the Bolivian-American Oil Company for

   which claim is made. The Bolivian-American Oil Company was organized in the

O.State of Delaware and later merged in 1961 with the Perfect Fit Corporation,

   a Pennsylvania corporation. In order for a stockholder to maintain a claim

   on its own behalf it must show that the corporation itself is not qualified

   to do so. Here NORTH AMERICAN SUGAR INDUSTRIES INC., et al, have failed to

   show that the Perfect Fit Corporation is not qualified to assert its own

  claim, and thus this portion of the claim is denied.


                                       SUMMARY

       The Commission finds that the losses suffered by claimants within the

  meaning of Title V of the Act are as follows:

       io CUBAN-AMERICAN MERCANTILE CORPORATION                     $       52,688.46

       2° WEST INDIA COMPANY
          A. Ciao Agricola San Sebastian         $ 2,289,558.79
          B. Cia0 Agricola y Granadera             8,965,205.10
          Co Almacenes Marina, S.A.                  180,084o44
          D. Almacenes Mercedita, SoA.               i14~ii0o62
                                                                        11,548,958.95


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       NORTH AMERICAN SUGAR INDUSTRIES INC. for the following:

           3.  Cuban-American Sugar Mills Co.
               A. Central Mercedita               $ 7,299,024.29
               B. Chaparra & Delicias              72,155,453.18
               C. Cardenas Refinery                   876,192.46
               D. Commercial Department
                     and Havana Office              6,672,201.16
           4. Ciao del Ferrocarril de
                  Puerto Padre                       5,742,671.31
           5. Cia. Electrica del Norte
                  de Oriente                         2,086,636°09
           6. Productora Electrica, S.A.            1,937,975.89
           7. Compania de Seguros de
                  Ingenios, S.A.                      116,361.85
           8. Oriente Products Company               472,522.49
               Investment in Trans-Cuba Oil Co.     ~ 14~376.00
                                                                     $ 97~373~414.72

                                  Total Losses                        $108,975,062.13


           The Commission has decided that in certification of losses on claims

    determined pursuant to Title V of the International Claims Settlement Act

    of 1949, as amended, interest should be included at the rate of 6% per annum

    from the date of loss to the date of settlement (see Claim of Lisle Corpor-

   ation, Claim No. CUQ0644), and in the instant case it is so ordered.


                                CERTIFICATIONS OF LOSS

           The Commission certifies that CUBAN-AMERICAN MERCANTILE CORPORATION

   suffered a loss, as a result of actions of the Government of Cuba, within the

   scope of Title V of the International Claims Settlement Act of 1949, as

   amended, in the amount of Fifty-two Thousand Six Hundred Eighty-eight Dollars

   and Forty-six Cents ($52,688.46) with interest at 6% per annum from March 19,

   1960 on $3,500.00 and from July 20, 1960 on $49,188.46 to the date of settle-

   ment;

           The Commission certifies that WEST INDIA COMPANY suffered a loss, as a

   result of actions of the Government of Cuba, within th~ scope of Title V of

   the International Claims Settlement Act of 1949, as amended, in the amount of

   Eleven Million Five Hundred Forty-eight Thousand Nine Hundred Fifty-eight

   Dollars and Ninety-five Cents ($11,548,958.95) with interest thereon at 6%

O per annum from July 20, 1960 to the date of settlement; and



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        The Commission certifies that NORTH AMERICAN SUGAR INDUSTRIES INC. suf-

   fered a loss, as a result of actions of the Government of Cuba, within the

   scope of Title V of the International Claims Settlement Act of 1949, as

   amended, in the amount of Ninety-seven Million Three Hundred Seventy-three

   Thousand Four Hundred Fourteen Dollars and Seventy=two Cents ($97,373,414.72)

Olwith interest at 6% per annum from November 23, 1959 on $14,376.00 and from

   July 20, 1960 on $97,359,038.72 to the date of settlement.


   Dated at Washington, Do C.,
   and entered as the Proposed
   Decision of the Commission




           2 6 1969

                                     Leonard v. B. Sutton, Chairman



                                     Theodore Jaffe, Commissioner    ..




                                    Sidney F~eidbe~, Commissioner




    NOTICE TO TREASURY: The above=referenced securities may not have been
    submitted to the Commission or if submitted, may have been returned;
    accordingly, no payment should be made until claimants establish reten-
    tion of the securities for the loss here certified.

          The statute does not provide for the payment of claim~ against
     the Government of Cuba° Provision is only made for the determination
     by the Commission of the validity and amounts of such claims.
     Section 501 of the statute specifically precludes any authorization
     for appropriations for payment of these claims. The Commission is
     required to certify its findings to the Secretary of State for
     possible use in future negotiations with the Government of Cuba.

     NOTICE: Pursuant to the Regulations of the Commission, if no objections
     are filed within 15 days after service or receipt of notice of this Pro-
     posed Decision, the decision will be entered as the Final Decision of
     the Commission upon the expiration of 30 days after such service or re-
     ceipt of notice, unless the Commission otherwise orders. (FCSC Reg.,
     45 C.FoR. 531.5(e) and (g), as amended, 32 Fed. Reg. 412-13 (1967).)

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